80 F.3d 558
    317 U.S.App.D.C. 82
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Joseph C. BOONE, Jr., Appellant.
    No. 94-3128.
    United States Court of Appeals, District of Columbia Circuit.
    March 4, 1996.
    
      Before:  WALD, WILLIAMS, and ROGERS, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir. Rule 36(b).   It is
    
    
      2
      ORDERED AND ADJUDGED that the convictions from which this appeal has been taken be affirmed.   The district court did not err in refusing to grant appellant's request for a lesser included offense instruction.   The evidence presented did not provide a rational basis for the jury to find appellant guilty of the lesser offense of simple possession of a controlled substance.  See United States v. Thompson, 994 F.2d 864 (D.C.Cir.1993);  United States v. Payne, 805 F.2d 1062 (D.C.Cir.1986);  United States v. Thornton, 746 F.2d 39 (1984).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 41.
    
    